Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 1 of 30 Page ID #:19




                             EXHIBIT “1”
Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 2 of 30 Page ID #:20

                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       01/21/2022
                                                                                                       CT Log Number 540918412
    TO:         Bethany Spain
                Signet Jewelers Limited
                375 GHENT RD
                FAIRLAWN, OH 44333-4601

    RE:         Process Served in California

    FOR:        Zale Delaware, Inc. (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                 Re: SILVIA ALFARO, an individual and on behalf of all others similarly situated // To:
                                                     Zale Delaware, Inc.
    DOCUMENT(S) SERVED:                              --
    COURT/AGENCY:                                    None Specified
                                                     Case # 30202101237686CU0ECXC
    NATURE OF ACTION:                                Employee Litigation
    ON WHOM PROCESS WAS SERVED:                      C T Corporation System, GLENDALE, CA
    DATE AND HOUR OF SERVICE:                        By Process Server on 01/21/2022 at 01:46
    JURISDICTION SERVED :                            California
    APPEARANCE OR ANSWER DUE:                        None Specified
    ATTORNEY(S) / SENDER(S):                         None Specified
    ACTION ITEMS:                                    CT will retain the current log

                                                     Image SOP

                                                     Email Notification, Jessica Glasper jessica.glasper@signetjewelers.com

                                                     Email Notification, Bethany Spain bethany.spain@signetjewelers.com

                                                     Email Notification, Victoria Ortega victoria.ortega-1@signetjewelers.com

                                                     Email Notification, Amanda Vance amanda.vance@signetjewelers.com

    REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                     330 N BRAND BLVD
                                                     STE 700
                                                     GLENDALE, CA 91203
                                                     866-331-2303
                                                     CentralTeam1@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                       Page 1 of 2 / FB
Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 3 of 30 Page ID #:21

                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        01/21/2022
                                                                                                        CT Log Number 540918412
    TO:         Bethany Spain
                Signet Jewelers Limited
                375 GHENT RD
                FAIRLAWN, OH 44333-4601

    RE:         Process Served in California

    FOR:        Zale Delaware, Inc. (Domestic State: DE)




    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                        Page 2 of 2 / FB
Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 4 of 30 Page ID #:22



                                                              Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS




Date:                     Fri, Jan 21, 2022

Server Name:              Victor Mendez




Entity Served            ZALE DELAWARE, INC.

Case Number              30202101237686CU0ECXC

J urisdiction            CA




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                     Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 5 of 30 Page ID #:23

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                Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 6 of 30 Page ID #:24
                ectronically Filed by Superior Court of California, County of Orange, 12/21/2021 04:24:27 PM.
  30-2021-012376E6-CU-0E-CXC - ROA #2 - DAVID H. YAMASAKI, Clerk of the Court By Georgina Ramirez, Deputy Clerk.




                                 1 BIBIYAN LAW GROUP,P.C.
                                      David D.Bibiyan (Cal. Bar No. 287811)
                                 2 david@tomorrowlaw.corn                                       Assigned for all Purposes
                                       Jeffrey D. Klein (Cal. Bar No. 297296)
                                3     jeff@tornorrowlaw.com
                                      Diego Aviles(Cal. Bar No. 315533)                            • Judge Randall J. Sherman
                                4     diego@tomorrowlaw.corn
                                      Sara Ehsani-Nia(Cal. Bar No. 326501)                             C X-105
                                5     sara@tomorrowlaw.com
                                      8484 Wilshire Boulevard, Suite 500
                                6     Beverly Hills, California 90211
                                      Telephone:(310)438-5555
                                7     Facsimile:(310)300-1705
                               8 Attorneys for Plaintiff, SILVIA ALFARO and
                                 on behalf ofherself and all others similarly situated
                               9
                                                    SUPERIOR COURT OF TIEE STATE OF CALIFORNIA
                             10
                                                                   FOR THE COUNTY OF ORANGE
                             11

                             12
                                SILVIA ALFARO,an individual and on                 CASE NO.: 30-2021-01237686-CU-0E-CXC
                             13 behalf of all others similarly situated,
                                                                                   CLASS ACTION COMPLAINT FOR:
                             14
                                                                                   1. FAILURE TO PAY OVERTIME WAGES;
                             15
                                                                                   2.FAILURE TO PAY MINIMUM WAGES;
                            16               V.
                                                                                   3.FAILURE TO PROVIDE MEAL
                            17 BANTER BY PIERCING PAGODA,an Ohio                     PERIODS;
                               corporation; PIERCING PAGODA,an Ohio
                            18 corporation;ZALE DELAWARE,INC., a                   4. FAILURE TO PROVIDE REST PERIODS;
                               Delaware corporation; AMANDA HORN,an
                            19 individual; and DOES 1 through 100,
                                                                                   5. WAITING TIME PENALIIES;
                               inclusive,
                            20
                                                                                   6. WAGE STATEMENT VIOLATIONS;
                           21                       Defendants.
                                                                                   7. FAILURE TO TIMELY PAY WAGES;
                           22
                                                                                   8. FAILURE TO INDEMNIFY;
                           23
                                                                                   9. VIOLATION OF LABOR CODE § 227.3
                           24
                                                                                   10.UNFAIR.COMPETITION.
                           25
                                                                                   DEMAND FOR JURY TRIAL
                           26
                                                                                  [Amount in Controversy Exceeds $25,000.00]
                           27

                          28
          Low Officoo of
     BlelYAN LAW GROUP
   A Profaseonal Corporation
6484 Wilhite Etaviavagri, Suite 600
  Bovoily 14W. Colltomio 00211
       (310)038-5656                                                   CLASS ACTION COMPLAINT
Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 7 of 30 Page ID #:25




     1             COMES NOW plaintiff SILVIA ALFARO ("Plaintiff"), on behalf ofPlaintiffand all others
     2 similarly situated, and alleges as follows:

     3                                     GENERAL ALLEGATIONS
     4                                          INTRODUCTION
     5        I.         This is a Class Action, pursuant to Code of Civil Procedure section 382, against
     6 BANTER BY PIERCING PAGODA,and any ofits respective subsidiaries or affiliated companies

     7 within the State of California ("BANTER"), PIERCING PAGODA, and any of its respective

     8 subsidiaries or affiliated companies within the State of California ("PAGODA"), ZALE

     9 DELAWARE,INC., and any of its respective subsidiaries or affiliated companies within the State

    10 of California ("ZALES"), AMANDA HORN ("HORN" and, collectively with BANTER,

    11 PAGODA,ZALES, and DOES 1 through 100, as further defined below,"Defendants") on behalf

    12 of Plaintiff and all other current and former non-exempt California employees employed by or

    13 formerly employed by Defendants("Class Members").

    14                                               PARTIES
   15             A.     Plaintiff
   16        2.          Plaintiff SILVIA ALFARO is a resident of the State of California. At all relevant
   17 times herein,Plaintiffis informed and believes, and based thereon allege that Defendants employed

   18 Plaintiff SILVIA ALFARO as a non-exempt employee, with duties that included, but were not

   19 limited to, customer service, payroll, training, and managing the storefront. Plaintiff is informed

   20 and believes, and based thereon allege that Plaintiff SILVIA ALFARO worked for Defendants from

   21 approximately November of2018 through approximately August of2021.

   22            B.     Defendants
   23       3.          Plaintiffis informed and believes and based thereon allege that defendant BANTER
   24 is, and at all times relevant hereto was, a corporation organized and existing under and by virtue of

   25 the laws ofthe State of Ohio and doing business in the County of Orange, State of California.
   26       4.          Plaintiffis informed and believes and based thereon allege that defendant PAGODA
   27 is, and at all times relevant hereto was, a corporation organized and existing under and by virtue of

   28 the laws ofthe State of Ohio and doing business in the County of Orange, State of California.

                                                      2
                                            CLASS ACTION COMPLAINT
Case 8:22-cv-00266-CJC-ADS Document 1-1 Filed 02/18/22 Page 8 of 30 Page ID #:26




       1        5.       Plaintiffis informed and believes and based thereon allege that defendantZALES is,

       2 and at all times relevant hereto was, a corporation organized and existing under and by virtue ofthe

       3 laws ofthe State ofDelaware and doing business in the County of Orange, State of California.

       4       6.        Plaintiff is informed and believes and based thereon alleges that defendant HORN

       5 is, and at all times relevant hereto was, an individual residing in California, as well as Regional

       6 Manager for BANTER,PAGODA,ZALES,and DOES 1 through 100, as further defined below.

               7.        The true names and capacities, whether individual, corporate,associate, or otherwise,

       8 of defendants sued herein as DOES 1 through 100, inclusive, are currently unknown to Plaintiff,

      9 who therefore sues defendants by such fictitious names under Code of Civil Procedure section 474.

      10 Plaintiff is informed and believes and based thereon alleges that each ofthe defendants designated

     11    herein as DOE is legally responsible in some manner for the unlawful acts referred to herein.

     12 Plaintiff will seek leave of court to amend this Complaint to reflect the true names and capacities of

     13 the defendants designated hereinafter as DOES when such identities become known. Plaintiff is

     14 informed and believes, and based thereon alleges, that each defendant acted in all respects pertinent

     15 to this action, as the agent of the other defendant(s), carried out a joint scheme, business plan or

     16 policy in all respects pertinent hereto, and the acts of each defendant are legally attributable to the

     17 other defendants. Whenever, heretofore or hereinafter, reference is made to "Defendants," it shall

     18 include BANTER,PAGODA,ZALES, and any of their parent, subsidiary, or affiliated companies

     19 within the State of California, HORN,as well as DOES 1 through 100 identified herein.
     20                                JOINT LIABILITY ALLEGATIONS
     21        8.       Plaintiff is informed and believes and based thereon alleges that all the times
     22 mentioned herein, each of the Defendants was the agent, principal, employee, employer,

     23 representative, joint venture or co-conspirator of each of the other defendants, either actually or

     24 ostensibly, and in doing the things alleged herein acted within the course and scope ofsuch agency,

     25 employment,joint venture, and conspiracy.

 •   26       9.        All ofthe acts and conduct described herein of each and every corporate defendant

     27 was duly authorized, ordered, and directed by the respective and collective defendant corporate

     28 employers, and the officers and management-level employees of said corporate employers. In

                                                          3
                                             CLASS ACTION COMPLAINT
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        1 addition thereto, said corporate employers participated in the aforementioned acts and conduct of

     2 their said employees, agents, and representatives, and each of them; and upon completion of the

     3 aforesaid acts and conduct of said corporate employees, agents, and representatives, the defendant

     4 corporation respectively and collectively ratified, accepted the benefits of, condoned, lauded,

     5 acquiesced, authorized, and otherwise approved of each and all ofthe said acts and conduct ofthe

     6 aforementioned corporate employees, agents and representatives.

     7        10.        Plaintiff is informed and believes, and based thereon allege, that there exists such a
     8 unity ofinterest and ownership between Defendants, and each ofthem,that their individuality and

     9 separateness have ceased to exist.

    10        11.        Plaintiffis informed and believes, and based thereon allege that despite the formation
    11 of the purported corporate existence of BANIER,PAGODA,ZALES, and DOES 1 through 50,

    12 inclusive (the "Alter Ego Defendants"), they, and each ofthem, are one and the same with HORN

    13 and DOES 51 through 100("Individual Defendants"), and each ofthem, due to, but not limited to,

    14 the following reasons:

    15              A. The Alter Ego Defendants are completely dominated and controlled by the Individual
    16                   Defendants who personally committed the wrongful and illegal acts and violated the
    17                   laws as set forth in this Complaint, and who has hidden and currently hide behind the
    18                   Alter Ego Defendants to perpetrate frauds, circumvent statutes, or accomplish some
    19                   other wrongful or inequitable purpose;
   20               B. The Individual Defendants derive actual and significant monetary benefits by and
   21                   through the Alter Ego Defendants' unlawful conduct, and by using the Alter Ego
   22                   Defendants as the funding source for the Individual Defendants' own personal
   23                   expenditures;
   24               C. Plaintiff is informed and believes and thereon alleges that the Individual Defendants
   25                   and the Alter Ego Defendants, while really one and the same, were segregated to
   26                   appear as though separate and distinct for purposes of perpetrating a fraud,
   27                   circumventing a statute, or accomplishing some other wrongful or inequitable
   28                   purpose;

                                                       4
                                             CLASS ACTION COMPLAINT
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      1            D. Plaintiffis informed and believes and thereon alleges that the business affairs ofthe
      2                 Individual Defendants and the Alter Ego Defendants are, and at all relevant times
      3                 mentioned herein were, so mixed and intermingled that the same cannot reasonably
      4                 be segregated, and the same are inextricable confusion. The Alter Ego Defendants
      5                 are, and at all relevant times mentioned herein were, used by the Individual
      6                Defendants as mere shells and conduits for the conduct of certain oftheir, and each
      7                of their affairs. The Alter Ego Defendants are, and at all relevant times mentioned
      8                herein were,the alter egos ofthe Individual Defendants;
      9            E. The recognition ofthe separate existence ofthe Individual Defendants and the Alter
     10                Ego Defendants would promote injustice insofar that it would permit defendants to
     11                insulate themselves from liability to Plaintifffor violations ofthe Civil Code,Labor
     12                Code, and other statutory violations. The corporate existence of these defendants
    13                 should thus be disregarded in equity and for the ends of justice because such
    14                 disregard is necessary to avoid fraud and injustice to Plaintiff herein;
    15            F. Accordingly, the Alter Ego Defendants constitute the alter ego of the Individual
    16                 Defendants (and vice versa), and the fiction of their separate corporate existence
    17                 must be disregarded;
    18      12.        As a result ofthe aforementioned facts, Plaintiffis informed and believes, and based

    19 thereon alleges that Defendants, and each ofthem, are joint employers.
    20                                           JURISDICTION
    21      13.        Jurisdiction exists in the Superior Court ofthe State of California pursuant to Code
    22 of Civil Procedure section 410.10.

    23      14.       Venue is proper in Orange County, California pursuant to Code of Civil Procedure
    24 sections 392, et seq. because, among other things, Orange County is where the causes of action

    25 complained of herein arose; the county in which the employment relationship began; the county in

    26 which performance of the employment contract, or part of it, between Plaintiff, or some of them,

    27 and Defendants was due to be performed; the county in which the employment contract, or part of

   28 it, between Plaintiff, or some of them, and Defendants was actually performed; and the county in

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      1 which Defendants,or some ofthem,reside. Moreover,the unlawful acts alleged herein have a direct

      2 effect on Plaintiffand Class Members in Orange County,and because Defendants employ numerous

      3 Class Members in Orange County.

      4                                     FACTUAL BACKGROUND
      5        15.       For at least four (4) years prior to the filing of this action and continuing to the
      6 present, Defendants have, at times,failed to pay overtime wages to Plaintiff and Class Members, or

      7 some ofthem,in violation of California state wage and hour laws as a result of, without limitation,

      8 Plaintiff and Class Members working over eight(8)hours per day, forty (40) hours per week, and

      9 seven consecutive work days in a work week without being properly compensated for hours worked

     10 in excess of(8)hours per day in a work day,forty(40)hours per week in a work week, and/or hours

     11 worked on the seventh consecutive work day in a work week by, among other things, failing to

     12 accurately track and/or pay for all minutes actually worked at the proper overtime rate of pay to the

     13 detriment ofPlaintiffand Class Members.
     14      16.        For at least four (4) years prior to the filing of this Action and continuing to the
     15 present, Defendants have, at times, failed to pay minimum wages to Plaintiff and Class Members,

     16 or some of them, in violation of California state wage and hour laws as a result of, among other

     17 things, at times,failing to accurately track and/or pay for all hours actually worked at their -regular

     18 rate ofpay that is above the minimum wage to the detriment ofPlaintiff and Class Members.

     19      17.        For at least four (4) years prior to the filing of this Action and continuing to the
    20 present, Defendants have, at times,failed to provide Plaintiff and Class Members, or some ofthem,

    21 full,'timely thirty (30) minute uninterrupted meal period for days on which they worked more than

    22 five(5) hours in a work day and a second thirty (30) minute uninterrupted meal period for days on
    23 which they worked in excess often (10) hours in a work day, and failing to provide compensation

    24 for such unprovided meal periods as required by California wage and hour laws.

    25       18.        For at least four (4) years prior to the filing of this action and continuing to the
    26 present, Defendants have, at times, failed to authorize and permit Plaintiff and Class Members, or

    27 some ofthem,to take rest periods of at least ten(10)minutes per four(4)hours worked or major

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      1 fraction thereof and failed to provide compensation for such unprovided rest periods as required by

      2 California wage and hour laws.

      3       19.       For at least three (3) years prior to the filing of this action and continuing to the
      4 present, Defendants have, at times,failed to pay Plaintiff and Class Members,or some ofthem,the

      5 full amount oftheir wages owed to them upon termination and/or resignation as required by Labor

      6 Code sections 201 and 202, including for, without limitation, failing to pay overtime wages,

      7 minimum wages,premium wages, and vacation pay pursuant to Labor Code section 227.3.

      8      20.        For at least one(1)year prior to the filing ofthis Action and continuing to the present,
      9 Defendants have, at times, failed to furnish Plaintiff and Class Members, or some of them, with

     10 itemized wage statements that accurately reflect gross wages earned; total hours worked; net wages

     11 earned; all applicable hourly rates in effect during the pay period and the corresponding number of

    12 hours worked at each hourly rate; the name and address ofthe legal entity that is the employer; and

    13 other such information as required by Labor Code section 226,subdivision (a). As a result thereof,

    14 Defendants have further failed to furnish employees with an accurate calculation of gross and gross

    15 wages earned, as well as gross and net wages paid.

    16      21.         For at least one(1)year prior to the filing ofthis action and continuing to the present,
    17 Defendants have, at times, failed to pay Plaintiff and Class Members, or some of them, the full

    18 amount oftheir wages for labor performed in a timely fashion as required under Labor Code section

    19 204.

    20      22.         For at least three (3) years prior to the filing of this action and continuing to the
    21 present, Defendants have, at times, failed to.indemnify Class Members, or some of them,for the
    22 costs incurred in using cellular phones for work-related purposes and purchasing tools necessary to

    23 perform work duties.

    24      23.        For at least four (4) years prior to the filing of this action and continuing to the
    25 present, Defendants have had a consistent policy offailing to provide Plaintiffand similarly situated

    26 employees or former employees within the State of California with compensation at their final rate

    27 ofpay for unused vested paid vacation days pursuant to Labor Code section 227.3.

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      1        24.       Plaintiff, on their own behalf and on behalf of Class Members, brings this action
      2 pursuant to, including but not limited to, Labor Code sections 200,201, 202, 203, 204, 226, 226.7,

      3 227.3,510,512, 1194, 1194.2, 1197,2802,2810.3, et al., and California Code ofRegulations, Title

      4 8,section 11040,seeking overtime wages, minimum wages,payment ofpremium wages for missed

      5 meal and rest periods,failure to pay timely wages, waiting time penalties, wage statement penalties,

      6 failure to indemnify work-related expenses,failure to pay interest on deposits made,failing to pay

      7 vested vacation time at the proper rate of pay, other such provisions of California law, and

      8 reasonable attorneys' fees and costs.

      9      25.         Plaintiff, on Plaintiff's own behalf and on behalf of Class Members, pursuant to
     10 Business and Professions Code sections 17200 through 17208, also seeks (an) injunction(s)

    11 prohibiting Defendants from further violating the Labor Code and requiring the establishment of

    12 appropriate and effective means to prevent further violations, as well as all monies owed but

    13 withheld and retained by Defendants to which Plaintiff and Class Members are entitled, as well as

    14 restitution ofamounts owed.

    15                                  CLASS ACTION ALLEGATIONS
    16       26.        Plaintiff brings this action on behalf ofPlaintiff and Class Members as a class action
    17 pursuant to Code of Civil Procedure section 382. Plaintiff seeks to represent a class of all current

    18 and former non-exempt employees of Defendants within the State of California at any time

    19 commencing four(4)years preceding the filing ofPlaintiffs complaint up until the time that notice

    20 ofthe class action is provided to the class (collectively referred to as "Class Members").

    21      27.         Plaintiffreserves the right under California Rule of Court rule 3.765, subdivision(b)
    22 to amend or modify the class description with greater specificity, further divide the defined class

    23 into subclasses, and to further specify or limit the issues for which certification is sought.

    24      28.         This action has been brought and may properly be maintained as a class action under
    25 the provisions of Code of Civil Procedure section 382 because there is a well-defined community

    26 ofinterest in the litigation and the proposed Class is easily ascertainable.

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      1            A.    Numerosity
      2      29.         The potential Class Members as defined are so numerous that joinder of all the
      3 members ofthe Class is impracticable. While the precise number of Class Members has not been

      4 determined yet, Plaintiff is informed and believes that there are over seventy-five (75) Class

      5 Members employed by Defendants within the State of California.

      6      30.         Accounting for employee turnover during the relevant periods necessarily increases
      7 this number. Plaintiff alleges Defendants' employment records would provide information as to the

      8 number and location of all Class Members. Joinder of all members of the proposed Class is not

      9 practicable.

     10            B.    Commonality
     11      31.         There are questions of law and fact common to Class Members. These common
     12 questions include, but are not limited to:

     13             A. Did Defendants violate Labor Code sections 510 and 1194 by failing to pay all hours
     14                  worked at a proper overtime rate ofpay?
     15             B. Did Defendants violate Labor Code sections 510, 1194 and 1197 by failing to pay
     16                 for all other time worked at the employee's regular rate ofpay and a rate of pay that
    17                  is greater than the applicablc minimum wage?
     18             C. Did Defendants violate Labor Code section 512 by not authorizing or permitting
    19                  Class Members to take compliant meal periods?
    20              D. Did Defendants violate Labor Code section 226.7 by not providing Class Members
    21                  with additional wages for missed or interrupted meal periods?
    22              E. Did Defendants violate applicable Wage Orders by not authorizing or permitting
    23                  Class Members to take compliant rest periods?
    24              F. Did Defendants violate Labor Code section 226.7 by not providing Class Members
    25                  with additional wages for missed rest periods?
    26              G. Did Defendants violate Labor Code sections 201 and 202 by failing to pay Class
    27                  Members upon termination or resignation all wages earned?
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      1                IT. Are Defendants liable to Class Members for waiting time penalties under Labor Code
      2                      section 203?
      3                I.    Did Defendants violate Labor Code section 226, subdivision (a) by not furnishing
      4                      Class Members with accurate wage statements?

      5                J.    Did Defendants fail to pay Class Members in a timely fashion as required under

      6                     Labor Code section 204?
      7                K. Did Defendants fail to indemnify Class Members for all necessary expenditures or
      8                     losses incurred in direct consequence ofthe discharge oftheir duties or by obedience
      9                     to the directions of Defendants as required under Labor Code section 2802?
     10                L. Did Defendants violate Labor Code section 227.3 by not providing Class Members
     11                     with compensation at their final rate ofpay for vested paid vacation time.
     12                M. Did Defendants violate the Unfair Competition Law,Business and Professions Code
    13                      section 17200,et seq., by their unlawful practices as alleged herein?
    14                 N. Are Class Members entitled to restitution of wages under Business and Professions
    15                      Code section 17203?
    16             0. Are Class Members entitled to costs and attorneys' fees?
    17            _ P_      Are Class Members entitled to interest?
    18            C.        Typicality

    19      32.             The claims of Plaintiff herein alleged are typical of those claims which could be
    20 alleged by any Class Members, and the relief sought is typical ofthe relief which would be sought

    21 by each Class Member in separate actions. Plaintiff and Class Members sustained injuries and

    22 damages arising out of and caused by Defendants' common course of conduct in violation oflaws

    23 and regulations that have the force and effect oflaw and statutes as alleged herein.

    24            D.        Adequacy ofRepresentation
    25      33.             Plaintiff will fairly and adequately represent and protect the interest of Class
    26 Members. Counsel who represents Plaintiff is competent and experienced in litigating wage and

    27 hour class actions.

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      1              E.    Superiority of Class Action
      2        34.         A class action is superior to other available means for the fair and efficient
      3 adjudication of this controversy. Individual joinder of all Class Members is not practicable, and

      4 questions oflaw and fact common to Class Members predominate over any questions affecting only

      5 individual Class Members. Class Members, as further described therein, have been damaged and

      6 are entitled to recovery by reason of Defendants' policies and/or practices that have resulted in the

      7 violation ofthe Labor Code at times, as set out herein.

      8      35.          Class action treatment will allow Class Members to litigate their claims in a manner
      9 that is most efficient and economical for the parties and the judicial system. Plaintiffis unaware of

     10 any difficulties that are likely to be encountered in the management of this action that would

     11 preclude its maintenance as a class action.

     12                                      FIRST CAUSE OF ACTION
    13                          (Failure to Pay Overtime Wages — Against All Defendants)
    14       36.          Plaintiff realleges and incorporates by reference all of the allegations contained in
    15 the preceding paragraphs as though fully set forth hereat.

    16      37.           At all relevant times, Plaintiff and Class Members were employees or former
    17 employees ofDefendants covered by Labor Code sections 510, 1194 and 1199,as well as applicable

    18 Wage Orders.

    19      38.           At all times relevant to this Complaint, Labor Code section 510 was in effect and
    20 provided:"(a) Eight hours oflabor constitutes a day's work. Any work in excess of eight hours in

    21 one workday and any work in excess offorty hours in any one workweek...shall be compensated

    22 at the rate ofno less than one and one-halftimes the regular rate ofpay for an employee."

    23      39.           At all times relevant to this Complaint,Labor Code section 510 further provided that
    24 "[a]ny work in excess of 12 hours in one day shall be compensated at the rate ofno less than twice
    25 the regular rate of pay for an employee. In addition, any work in excess of eight hours on any

    26 seventh day of a workweek shall be compensated at the rate ofno less than twice the regular rate of

    27 pay."

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      1      40.        Four(4)years prior to the filing ofthe Complaint in this Action through the present,

      2 Plaintiff and Class Members, at times, worked for Defendants during shifts that consisted of more

      3 than eight (8) hours in a workday and/or more than forty hours in a workweek, and/or seven (7)

      4 consecutive workdays in a workweek, without being paid overtime wages for all hours worked as a

      5 result of,including but not limited to, Defendants failing to accurately track and/or pay for all hours

      6 actually worked at the proper overtime rate ofpay to the detriment ofPlaintiff and Class Members.
      7      41.        Accordingly, by requiring Plaintiff and Class Members to, at times, work greater

      8 than eight(8)hours per workday,forty(40)hours per workweek,and/or seven(7)straight workdays

      9 without properly compensating overtime wages at the proper overtime rate ofpay, Defendants, on

     10 occasion, willfully violated the provisions ofthe Labor Code, among others, sections 510,1194,and
     11 applicable IWC Wage Orders, and California law.

    12       42.        As a result of the unlawful acts of Defendants, Plaintiff and Class Members have

    13 been deprived of overtime wages in amounts to be determined at trial, and are entitled to recovery,

    14 plus interest and penalties thereon, attorneys' fees and costs, pursuant to Labor Code section 1194

    15 and 1199, Code of Civil Procedure section 1021.5 and 1032, and Civil Code section 3287.
    16                                    SECOND CAUSE OF ACTION
    17                    (Failure to Pay Minimum Wages — Against All Defendants)
    18      43.         Plaintiff realleges and incorporates by reference all of the allegations contained in

    19 the preceding paragraphs as though fully set forth hereat.
    20      44.         At all relevant times, Plaintiff and Class Members were employees or former
    21 employees ofDefendants covered by Labor Code sections 1197, 1199 and applicable Wage Orders.

    22      45.        Pursuant to Labor Code section 1197 and applicable Wage Orders, Plaintiff and
    23 Class Members were entitled to receive minimum wages for all hours worked or otherwise under
    24 Defendants' control.

    25      46.        For four (4) years prior to the filing of the Complaint in this Action through the

    26 present, Defendants failed, at times, to accurately track and/or pay for all hours actually worked at
    27 their regular rate of pay that is above the minimum wage to the detriment of Plaintiff and Class

    28 Members.

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      1        47.      As a result of Defendants' unlawful conduct, Plaintiff and Class Members have

      2 suffered damages in an amount, subject to proof, to the extent they were not paid minimum wages

      3 for all hours worked or otherwise due.
      4        48.      Pursuant to Labor Code sections 218.6, 1194, 1194.2, Code of Civil Procedure

      5 sections 1021.5 and 1032, and Civil Code section 3287,Plaintiffand Class Members are entitled to

      6 recover the full amount of unpaid minimum wages, interest and penalties thereon, liquidated

      7 damages,reasonable attorneys' fees and costs of suit.

      8                                   TAIRD CAUSE OF ACTION
      9                   (Failure to Provide Meal Periods — Against All Defendants)
     10      49.        Plaintiff realleges and incorporates by reference all of the allegations contained in
     11 the preceding paragaphs as though fully set forth hereat.

     12      50.        At all relevant times, Plaintiff and Class Members were employees or former

     13 employees ofDefendants covered by Labor Code section 512 and applicable Wage Orders.
    14       51.        Pursuant to Labor Code section 512 and applicable Wage Orders, no employer shall

    15 employ an employee for a work period of more than five (5) hours without a timely meal break of

    16 not less than thirty (30) minutes in which the employee is relieved of all of his or her duties.

    17 Furthermore, no employer shall employ an employee for a work period of more than ten(10)hours

    18 per day without providing the employee with a second timely meal period ofnot less than thirty(30)

    19 minutes in which the employee is relieved of all ofhis or her duties.

    20      52.        Pursuant to Labor Code section 226.7, if an employer fails to provide an employee
    21 with a meal period as provided in the applicable Wage Order ofthe Industrial Welfare Commission,

    22 the employer shall pay the employee one(1) additional hour of pay at the employee's regular rate

    23 of compensation for each workday that the meal period is not provided.

    24      53.        For four (4) years prior to the filing of the Complaint in this Action through the
    25 present,Plaintiffand Class Members were, at times,not provided complete,timely 30-minute, duty-

    26 free uninterrupted meal periods every five hours of work without waiving the right to take them, as
    27 permitted. Moreover, at times,Defendants failed to provide one(1)additional hour ofpay at the

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        1 Class Member's regular rate of compensation on the occasions that Class Members were not

      2 provided compliant meal periods.

      3       54.       By their failure to provide Plaintiff and Class Members compliant meal periods as
      4 contemplated by Labor Code section 512, among other California authorities, and filing, at times,

      5 to provide compensation for such unprovided meal periods, as alleged above, Defendants willfully

      6 violated the provisions ofLabor Code section 512 and applicable Wage Orders.

      7      55.        As a result of Defendants' unlawful conduct, Plaintiff and Class Members have

      8 suffered damages in an amount, subject to proof, to the extent they were not paid additional pay

      9 owed for missed, untimely, interrupted,incomplete and/or on-duty meal periods.
     10      56.        Plaintiff and Class Members are entitled to recover the full amount of their unpaid

     11 additional pay for unprovided compliant meal periods, in amounts to be determined at trial, plus
     12 interest and penalties thereon, attorneys' fees, and costs, under Labor Code sections 226 and 226.7,

     13 Code of Civil Procedure sections 1021.5 and 1032, and Civil Code section 3287.

    14                                   FOURTH CAUSE OF ACTION
    15                     (Failure to Provide Rest Periods — Against All Defendants)
    16       57.        Plaintiff realleges and incorporates by reference all of the allegations contained in
    17 the preceding paragraphs as though fully set forth hereat.
    18       58.        At all relevant times, Plaintiff and Class Members were employees or former
    19 employees ofDefendants covered by applicable Wage Orders.
    20       59.        California law and applicable Wage Orders require that employers "authorize and
    21 permit" employees to take ten (10) minute rest periods in about the middle of each four (4) hour

    22 work period "or major fraction thereof." Accordingly, employees who work shifts ofthree and-a-
    23 half(3 1/2) to six(6)hours must be provided ten (10) minutes of paid rest period, employees who

    24 work shifts ofmore than six(6)and up to ten(10)hours must be provided with twenty(20)minutes
    25 of paid rest period, and employees who work shifts of more than ten (10) hours must be provided

    26 thirty(30)minutes ofpaid rest period.

   27       60.        Pursuant to Labor Code section 226.7, if an employer fails to provide an employee
    28 -with a meal period or rest period as provided in the applicable Wage Order ofthe Industrial Welfare

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          Commission,the employer shall pay the employee one (1)additional hour of pay at the employee's
      2 regular rate of compensation for each work day that the rest period is not provided.

      3      61.         For four (4) years prior to the filing of the Complaint in this Action through the
      4 present, Plaintiff and Class Members were, at times, not authorized or permitted to take complete,

      5 timely 30-minute, duty-free uninterrupted rest periods every four(4)hours ofwork or major fraction

      6 thereof. Moreover,at times,Defendants failed to provide one(1)additional hour ofpay atthe Class

      7 Member's regular rate of compensation on the occasions that Class Members were not authorized

      8 or permitted to take compliant rest periods.

      9     62.         By their failure, at times,to authorize and permit Plaintiff and Class Members to take
    10 rest periods contemplated by California law, and one (1) additional hour of pay at the employee's

    11 regular rate of compensation for such unprovided rest periods, as alleged above, Defendants

    12 willfully violated the provisions ofLabor Code section 226.7 and applicable Wage Orders.

    13      63.         As a result of Defendants' unlawful conduct, Plaintiff and Class Members have
    14 suffered damages in an amount, subject to proof, to the extent they were not paid additional pay

    15 owed for rest periods that they were not authorized or permitted to take.

    16      64.         Plaintiff and Class Members are entitled to recover the full amount of their unpaid
    17 additional pay for unprovided compliant meal periods, in amounts to be determined at trial, plus

    18 interest and penalties thereon, attorneys' fees, and costs, under Labor Code sections 226 and 226.7,

    19 Code of Civil Procedure sections 1021.5 and 1032, and Civil Code section 3287.

    20                                    FIFTH CAUSE OF ACTION
    21            (Failure to Pay All Wages Due Upon Termination — Against All Defendants)
    22      65.         Plaintiff realleges and incorporates by reference all of the allegations contained in
    23 the preceding paragraphs as though fully set forth hereat.

    24      66.         At all relevant times, Plaintiff and Class Members were employees or former
    25 employees of Defendants covered by Labor Code sections 201,202 and 203, as well as applicable

    26 Wage Orders.
    27     67.         Pursuant to Labor Code sections 201 and 202, Plaintiff and Class Members were
   28 entitled upon termination to timely payment of all wages earned and unpaid prior to termination.

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      1 Discharged Class Members were entitled to payment of all wages earned and unpaid prior to

      2 discharge immediately upon termination. Class Members who resigned were entitled to payment

      3 ofall wages earned and unpaid prior to resignation within 72 hours after giving notice ofresignation

      4 or, if they gave 72 hours previous notice, they were entitled to payment of all wages earned and

      5 unpaid at the time of resignation.

      6      68.          Plaintiff is informed and believes, and based thereon alleges, that in the three (3)

      7 years before the filing of the Complaint in this Action Through the present, Defendants, due to the

      8 failure, at times, to provide overtime wages mentioned above, failed to pay Plaintiff and Class

      9 Members all wages earned prior to resignation or termination in accordance with Labor Code

     10 sections 201 or 202.

     11      69.          Plaintiff is informed and believes Defendants' failure, at times, to pay Plaintiff and
     12 Class Members all wages earned prior to termination or resignation in accordance with Labor Code

     13 sections 201 and 202 was willful. Defendants had the ability to pay all wages earned by Plaintiff

     14 and Class Members at the time oftermination in accordance with Labor Code sections 201 and 202,

     15 but intentionally adopted policies or practices incompatible with the requirements of Labor Code

     16 sections 201 and 202 resulting in the failure, at times, to pay all wages earned prior to termination

     17 oi resignation.

    18       70.          Pursuant to Labor Code section 203, Plaintiff and Class Members are entitled to
    19 waiting time penalties from the date their earned and unpaid wages were due, upon termination or

    20 resignation, until paid, up to a maximum ofthirty (30) days.

    21      71.           As a result of Defendants' unlawful conduct, Plaintiff and Class Members have
    22 suffered damages in an amount subjectto proof,to the extent they were not paid for all wages earned

    23 prior to termination or resignation.

    24      72.         Pursuant to Labor Code section 203 and 218.6, Code of Civil Procedure sections

    25 1021.5 and 1032, and Civil Code section 3287,Plaintiff and Class Members are entitled to recover

    26 waiting time penalties, interest, and their costs ofsuit, as well.

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      1                                    SIXTH CAUSE OF ACTION
      2             (Failure to Provide Accurate Wage Statements — Against All Defendants)

      3      73.        Plaintiff realleges and incorporates by reference all of the allegations contained in

      4 the preceding paragraphs as though fully set forth hereat. _

      5      74.        At all relevant times, Plaintiff and Class Members were employees or former

      6 employees ofDefendants covered by Labor Code section 226, as well as applicable Wage Orders.

      7      75.        Pursuant to Labor Code section 226, subdivision (a), Plaintiff and Class Members

      8 were entitled to receive,semi-monthly or at the time ofeach payment of wages,an accurate itemi7ed

      9 statement that accurately reflects, among other things, gross wages earned; total hours worked; net

     10 wages earned; all applicable hourly rates in effect during the pay period and the corresponding

     11 number ofhours worked at each hourly rate; and the name and address ofthe legal entity that is the

     12 employer, among other things.
     13      76.        Plaintiffis informed and believes, and based thereon alleges,that in the one(1)year
     14 before the filing ofthe Complaint in this Action through the present, Defendants failed to comply

     15 with Labor Code section 226,subdivision(a)by adopting policies and practices that resulted in their
    16 failure, at times, to furnish Plaintiff and Class Members with accurate itemized statements that

    17 accurately reflect, among other things, gross wages earned; total hours worked; net wages earned;

    18 all applicable hourly rates in effect during the pay period and the corresponding number ofhours

    19 worked at each hourly rate; and the name and address ofthe legal entity that is the employer, among
    20 other things.

    21      77.        Defendants' failure to, at times, provide Plaintiff and Class Members with accurate
    22 wage statements was knowing, intentional, and willful. Defendants had the ability to provide

    23 Plaintiff and the other Class Members with accurate wage statements, but, at times, willfully
    24 provided wage statements that Defendants knew were not accurate.

    25      78.        As a result of Defendants' unlawful conduct, Plaintiff and Class Members have

    26 suffered injury. The absence of accurate information on Class Members' wage statements at times

    27 has delayed timely challenge to Defendants' unlawful pay practices; requires discovery and
    28 mathematical computations to determine the amount of wages owed; causes difficulty and expense

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      1 in attempting to reconstruct time and pay records; and led to submission ofinaccurate information

      2 about wages and amounts deducted from wages to state and federal governmental agencies, among

      3 other things.

      4      79.         Pursuant to Labor Code section 226, subdivision (e), Plaintiff and Class Members
      5 are entitled to recover $50 for the initial pay period during the period in which violation of Labor

      6 Code section 226 occurred and $100 for each violation of Labor Code section 226 in a subsequent

      7 pay period, not to exceed an aggregate $4,000.00 per employee.

      8      80.         Pursuant to Labor Code sections 226, subdivisions (e) and (g), Code of Civil
      9 Procedure section 1032, Civil Code section 3287, Plaintiff and Class Members are entitled to

     10 recover the full amount of penalties due under Labor Code section 226, subdivision (e), reasonable

     11 attorneys' fees, and costs ofsuit.

     12                                  SEVENTH CAUSE OF ACTION
    13             (Failure to Timely Pay Wages During Employment — Against All Defendants)
    14       81.         Plaintiffreallege each and every allegation set forth in the preceding paragraphs and
    15 incorporate each by reference as though fully set forth hereat.

    16       82.         At all relevant times, Plaintiff and Class Members were employees or former
    17 employees ofDefendants covered by Labor Code section 204 and applicable Wage Orders.

    18      83.          Labor Code section 204 provides that "Plabor performed between the 1St and 15th
    19 days, inclusive, of any calendar month shall be paid for between the 16th and 26th day ofthe month

    20 during which the labor was performed, and labor performed between the 16th and the last day,

    21 inclusive, of any calendar month, shall be paid for between the 1St and 10th day of the following

    22 month."
    23      84.          Labor Code section 210, subdivision (a) states that "[i]n addition to, and entirely
    24 independent and apartfrom,any other penalty provided in this article, every person who fails to pay

    25 the wages ofeach employee as provided in Sections 201.3,204,204b,204.1,204.2,205,205.5, and

    26 1197.5,shall be subject to a civil penalty asfollows:(1)For any initial violation,one hundred dollars
    27 ($100)for each failure to pay each employee" and "(2)For each subsequent violation, or any willful

    28 / / /

                                                         18
                                             CLASS ACTION COMPLANT
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       1 or intentional violation, two hundred dollars ($200)for each failure to pay each employee, plus 25

      2 percent ofthe amount unlawfully withheld."

      3       85.        Plaintiffis informed and believes, and based thereon alleges, that in the one(1)year

      4 before the filing ofthe Complaint in this Action through the present, Defendants employed policies

      5 and practices that resulted in, at times, not paying Plaintiff and Class Members in accordance with

      6 Labor Code section 204.

      7       86.        Pursuant to Labor Code section 210, Plaintiff and Class Members are entitled to

      8 recover penalties for Defendants' violations of Labor Code section 204, in the amount of one

      9 hundred dollars($100)for each initial violation per Class Member,and two hundred dollars($200)

     10 for each subsequent violation in connection with each payment that was made in violation ofLabor

     11 Code section 204 per Class Member,plus 25 percent ofthe amount unlawfully withheld.
     12       87.        Pursuant to Labor Code section 218.6, Code of Civil Procedure sections 1021.5 and

     13 1032,and Civil Code section 3287,Plaintiffand Class Members are entitled to recovery ofpenalties,
     14 interest, and their costs ofsuit, as well.

     15                                    EIGHTH CAUSE OF ACTION
     16                     (Violation ofLabor Code § 2802 — Against All Defendants)
     17     - 88..       Plaintiff reallege and incorporate by reference all ofthe allegatiOias contained in the
    18 preceding paragraphs as though fully set forth hereat.

    19       89.         At all relevant times, Plaintiff and Class Members were employees or former

    20 employees ofDefendants covered by Labor Code section 2802 and applicable Wage Orders.
    21       90.        Labor Code section 2802,subdivision(a)provides that"an employer shall indemnify
    22    his or her employee for all necessary expenditures or losses incurred by the employee in direct
    23    consequence ofthe discharge of his or her duties ..."
    24       91.        For three (3) years prior to the filing of the Complaint in this Action through the
    25 present, Defendants required Plaintiff and Class Members, or some of them, to incur, at times,

    26 necessary expenditures or losses in direct consequence of the discharge of their duties or at the

    27 obedience to the directions of Defendants that included, without limitation: using cellular phones

    28 for work-related purposes and purchasing tools necessary to perform work duties.

                                                          19
                                             CLASS ACTION COMPLAINT
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      1      92.          During that time period, Plaintiffis informed and believes, and based thereon allege
      2 that Defendants failed and refused, and still fail and refuse, at times, to reimburse Plaintiff sand

      3 Class Members for those losses and/or expenditures.

      4      93.          As a result of Defendants' unlawful conduct, Plaintiff and Class Members have

          suffered damages in an amount subject to proof, to the extent they were not reimbursed for the
      6 herein-described losses and/or expenditures.

      7      94.          Pursuant to Labor Code section 2802, Code of Civil Procedure sections 1021.5 and
      8 1032, and Civil Code section 3287, Plaintiff and Class Members are entitled to recover

      9 reimbursement for their herein-described losses and/or expenditures, reasonable attorneys'fees and

     10 costs of suit.

     11                                     NINTH CAUSE OF ACTION
     12                    (Violation of Labor Code § 227.3 — Against All Defendants
    13       95.         Plaintiff re-alleges and incorporates by reference all of the allegations contained in
    14 the preceding paragraphs ofthis Complaint as though fully set forth hereon.

    15      96.          According to Labor Code section 227.3, whenever a contract of employment or
    16 employer policy provides for paid vacations, and an employee is terminated without having taken

    17 off her vested vacation time, all vested vacation shall be paid to-her as wages at her final rate in

    18 accordance with such contract of employment or employer policy respecting eligibility or time

    19 served.

    20      97.          Plaintiffis informed and believes, and based thereon alleges that, at all times relevant
    21 hereto, Defendants promulgated and maintained a uniform policy providing for paid vacations, and

    22 that Plaintiff's employment contract with Defendants included paid vacations.

    23      98.          For at least four (4) years prior to the filing of this action and continuing to the
    24 present,Defendants have had a consistent policy offailing to provide Plaintiff and similarly situated

    25 employees or former employees within the State of California with compensation at their final rate

    26 ofpay for unused vested paid vacation days pursuant to Labor Code section 227.3.

    27      99.          As a proximate result of Defendants' failure to pay vested vacation at the final rate
    28 of Plaintiff and Class Members upon their resignation or termination, Defendants violated Labor

                                                          20
                                              CLASS ACTION COMPLAINT
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      1   Code section 227.3, entitling Plaintiff and Class Members to all vested and unused vacation pay at

      2 their final rate of pay, as set out in Defendants' policy or the contract of employment between

      3 Plaintiff and Class Members,on the one hand, and Defendants, on the other hand.

      4     100.        As a further proximate result ofDefendants' above-described acts and/or omissions,

      5 Plaintiff and Class Members are entitled to recover reasonable attorneys' fees, costs of suit and
      6 prejudgment interest.

      7                                   TENTH CAUSE OF ACTION
      8                          (Unfair Competition — Against All Defendants)
      9     101.        Plaintiff realleges and incorporates by reference all of the allegations contained in
     10 the preceding paragraphs as though fully set forth hereat.

     11     102.        Plaintiff is informed and believes, and based thereon alleges that the unlawful
     12 conduct ofDefendants alleged herein constitutes unfair competition within the meaning ofBusiness

    13 and Professions Code section 17200. Due to their unlawful business practices in violation of the

    14 Labor Code, Defendants have gained a competitive advantage over other comparable companies

    15 doing business in the State ofCalifornia that comply with their obligations to compensate employees

    16 in accordance with the Labor Code.

    1.7    103.        As a result of Defendants' unfair competition as alleged herein, Plaintiff and Class

    18 Members have suffered injury in fact and lost money or property.

    19     104.        Pursuant to Business and Professions Code section 17203, Plaintiff and Class
    20 Members are entitled to (an) injunction(s) prohibiting Defendants from further violating the Labor

    21 Code and requiring the establishment of appropriate and effective means to prevent further

    22 violations, as well as restitution of all wages and other monies owed to them under the Labor Code,

   • 23 including interest thereon,in which they had a property interest and which Defendants nevertheless

    24 failed to pay them and instead withheld and retained for themselves. Restitution ofthe money owed

    25 to Plaintiffand Class Members is necessary to prevent Defendants from becoming unjustly enriched

    26 by their failure to comply with the Labor Code.

    27     105.        Plaintiff and Class Members are entitled to costs of suit under Code of Civil
    28 Procedure section 1032 and interest under Civil Code section 3287.

                                                        21
                                           CLASS ACTION COMPLAINT
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      1                                      DEMAND FOR JURY TRIAL

      2      106.         Plaintiff demands a trial by jury on all causes of action contained herein.
      3                                                 PRAYER
      4             WHEREFORE,on behalf ofPlaintiff and Class Members,Plaintiffprays for judgment

      5 against Defendants as follows:
      6             A.    An order certifying this case as a Class Action;
      7         B.        An Order appointing Plaintiff as Class representative and appointing Plaintiff's
      8                   counsel as class counsel;

      9         C.        Damages for all wages earned and owed,including minimum, overtime wages and
     10                   unpaid wages for vested vacation time, under Labor Code sections 510, 1194, 1197
     11                   and 1199 and 227.3;
     12         D.        Liquidated damages pursuant to Labor Code section 1194.2;
     13         E.        Damages for unpaid premium wages from missed meal and rest periods under,
     14                   among other Labor Code sections, 512 and 226.7;
     15         F.       Penalties for inaccurate wage 'statements under Labor Code section 226,
     16                   subdivision (e);
     17         G.        Waiting time penalties under Labor Code section 203;
     18         H.       Penalties to timely pay wages under Labor Code section 210;
    19          I.       Damages under Labor Code section 2802;
    20          J.       Preliminary and permanent injunctions prohibiting Defendants from further
    21                   violating the California T.abor Code and requiring the establishment of appropriate
    22                   and effective means to prevent future violations;
    23          K.       Restitution of wages and benefits due which were acquired by means of any unfair
    24                   business practice, according to proof;
    25          L.       Prejudgment and post-judgment interest at the maximum rate allowed by law;
    26          M.       For attorneys' fees in prosecuting this action;
    27 ///

    28 ///

                                                          22
                                              CLASS ACTION COMPLAINT
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      1        N.    For costs of suit inclined herein; and
      2       0.     For such other and further relief as the Court deemsjust and proper.
      3 Dated: December 21, 2021                BIBIYAN LAW., GROUP,PC
                                                         •        •1 •r •
      4

      5
                                                BY:
     6                                                          .KLEIN
                                                       AV     D BIBIYAN
      7                                         Attor4ys b r aintiff SILVIA ALFARO on behalf of
     8
                                                herselV al, all others similarly situated

     9

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                                        CLASS ACTION COMPLAINT
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          'Electronically Filed by Superior Court of California, County of Orange, 12/21/2021 04:24:27 PM.
30-2021-01237686-CU-0E-CXC - ROA #3 - DAVID H. YAMASAKI, Clerk of the Court By Georgina Ramirez, Deputplittelrlti
      ATTORNEY OR PARTY VIATHOUT ATTORNEY (Name, Slate Barnumber, and address):
                                                                                                                                          FOR COURT USE ONLY
      BIBIYAN LAW GROUP, P.C. David D. Bibiyan (Cal. Bar No. 287811)
      8484 Wilshire Blvd , Suite 500, Beverly Hills, California 90211


                TELEPHONE NO.: 310-438-5555                       FAX NO.(Optional): 310-300-1705
               E-MAIL ADDRESS: david@tomorrowlaw.com
          ArroeivEy FOR (Name): Plaintiff SILVIA ALFARO

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF                      ORANGE
       STREET ADDRESS:X;Wn.mkro            amok
       MAILING ADDRESS:
                                                                 751    W.    SANTA        ANA       BLVD
      crrymozip CODE: Santa Ana, 92701
           BRANCH NAME: Civil Complex Center

      CASE NAME:
         ALFARO v. BANTER BY PIERCING PAGODA,et al.

        CIVIL CASE COVER SHEET                                                                                          CASE NUMBER:
                                                                     Complex Case Designation
     I—I Unlimited    F-1 Limited                                  -
                                                                   I 1 Counter    -I  1 Joinder                            30-2021-01237686-CU-0E-CXC
             (Amount                        (Amount
              demanded
                                                                  Filed with first appearance by defendant              JUDGE:         Judge Randall J. Sherman
                                             demanded is
                                                                       (Cal. Rules of Court, rule 3.402)                 DEPT.:
              exceeds $25,000)              $25,000 or less)
                                                                                                                                                   CX    105
                                                Items 1-6 below must be completed(see instructions on page 2).
      1. Check       one box below for the case type that best describes this case:
          Auto Tort                                               Contract                                          Provisionally Complex Civil Litigation
                  Auto (22)                                              Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
         -
         I   1 Uninsured motorist(46)   •                                Rule 3.740 collections (09)               LIII     Antitrust/Trade regulation (03)
         Other PUPDAND (Personal Injury/Property                         Other collections (09)                             Construction defect(10)
         Damage/Wrongful Death)Tort                                                                                         Mass tort(40)
                                                                 -
                                                                 I 1 Insurance coverage (18)
          Ei Asbestos(04)                                         F-1    Other contract(37)                                Securities litigation (28)
                  Product liability(24)
                                                                  Real Property                                    LIII    EnvironmentaUToxic tort(30)
          r--1    Medical malpractice (45)
                                                                        Eminent domain/Inverse
                                                                                                                           Insurance coverage claims arising from the
          F-1 Other PUPD/WD (23)                                                                                           above listed provisionally complex case
                                                                        condemnation (14)
                                                                                                                           types(41) .
          Non-PI/PD/WD (Other)Tort                               -
                                                                 1 7    Wrongful eviction (33)                      Enforcement of Judgment
          I—I Business tort/unfair business practice (07)               Other real property (26)                   -
                                                                                                                   1 7 E•    nforcement ofjudgment(20)
          E7 Civil rights (08)                                    Unlawful Detainer
                                                                                                                    Miscellaneous Civil Complaint
          I—I Defamation (13)                                           Commercial (31)
                                                                                                                   [---1   R• ICO (27)
          E ] Fraud (16)                                         El Residential (32)                               -
                                                                                                                   1   1 Other complaint (not specified above)(42)
                  Intellectual property (19)                             Drugs (38)
                                                                                                                   Miscellaneous Civil Petition
                  Professional negligence (25)                   Judicial Review
                                                                         Asset forfeiture (85)
                                                                                                                           Partnership and corporate governance (21)
                  Other non-PUPDNVD tort (35)
                                                                 -
                                                                 1 7 Petition re: arbitration award (11)                   Other petition (not specified above)(43)
          Employment
                  Wrongful termination (36)                      71 Writ of mandate (02)

         F-1 Other employment(15)                                       Other judicial review (39)

    2.    This case      -
                         1 7 is                is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the -
           factors requiring exceptional judicial management:
          a. ED Large number of separately represented parties                        d.       x      Large number of witnesses
          b. FT Extensive motion practice raising difficult or novel                  e.   F-1 Coordination with related actions pending in one or more
                      issues that will be time-consuming to resolve                                  courts in other counties, states, or countries, or in a federal

          c. M Substantial amount of documentary evidence                                            court
                                                                                      f.       x     Substantial postjudgment judicial supervision
    3.    Remedies sought(check            ell that apply): a.   I—I   monetary b.         X       nonmonetary; declaratory/ or injunctive relief                 nj punitive
    4.    Number of causes of action (specify): Ten (10)

    5.    This case        x      is    I—I is not       a class action suit.

    6.    If there are any known related cases, file and serve a notice of related case.(You my                         us form
    Date: December 21, 2021
    Jeffrey D. Klein
                                 (TYPE OR PRINT NAME)                                                              GN    RE F PARTY I      ,ATTO     EY FOR PARTY)
                                                                                  NOTICE                      ,z   •
     • Plaintiff must file this cover sheet with the first paper filed in the action or proc,eedIng (exce t small claims cases or cases filed
         under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Fules/of Court, rule 3.220.) Failure to file may result
         in sanctions.                                                               t    '/
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                      Page 1 of 2
    Form Adopted for Mandatory Use                                                                                          Cal. Rules of Court, rules 2.30, 3.220. 3.400-3.403,3.740,
      Judicial Council of California                              CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
    CM-010[Rev.Septernber 1, 2021)                                                                                                                                   www.ccurls.ca.gov
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                                 INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                               CM-010
  To Plaintiffs and Othere Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases-filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
 in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
 property, services, or money was acquired on credit A collections case does not include an action seeking the following:(1)tort
 damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or(5) a prejudgment writ of .
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                      CASE TYPES AND EXAMPLES
   Auto Tort                                     Contract                                               Provisionally Complex Civil Litigation (Cal.
      Auto (22)-Personal Injury/Property              Breach of CContract/Warranty
                                                                     nt t/VVarranty (06)                Rules of Court Rules 3.400-3.403)
            Damage/Wrongful Death                        Breach of Rental/Lease                                Antitrust/Trade Regulation (03)
        Uninsured Motorist(46)(if the                         Contract(not unlawful detainer                  Construction Defect(10)
         case involves an uninsured                                 or wrongfulf l eviction)
                                                                                     vi ti                    Claims Involving Mass Tort(40)
         motorist claim subject to                       Contract/Warranty B      Breach-Seller
                                                                                         hSll                 Securities Litigation (28)
         arbitration, check this item                         Plaintiff
                                                                 ain tiff(not fraud or neggence)
                                                                                          negligence)         Environmental/Toxic Tort(30)
         instead of Auto)                                Negligent Breach of Contract/                        Insurance Coverage Claims
   Other PI/PDNVD (Personal Injury/                           Warranty                                              (arising from provisionally complex
   Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                          case type listed above)(41)
   Tort                                              Collections (e.g., money owed, open                Enforcement of Judgment
       Asbestos(04)                                      book accounts)(09)                                Enforcement of Judgment(20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                       Abstract of Judgment(Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                           County)
               Wrongful Death                                 Case                                         Confession of Judgment(non-
       Product Liability (not asbestos or            Insurance Coverage (not provisionally                       domestic relations)
          toxiclenvironmentafi (24)                      complex)(18)                                      Sister State Judgment
       Medical Malpractice (45)                          Auto
                                                         Au S  Subrogation
                                                                   b       ti                             Administrative Agency Award
           Medical Malpractice-                          Other Coverage                                        (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                    Petition/Certification of Entry of
       Other Professional Health Care                    Contracua t lF  Fraud                                  Judgment on Unpaid Taxes
              M alprantice                               Other Contract Dispute                            Other Enforcement of Judgment
       Other Pl/PD/VVD (23)                      Real Property                                                  Case
           Premises Liability (e.g., slip            Eminent Domain/Inverse
                                                                       i /I                             Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                                 RICO (27)
           Intentional Bodily lnjury/PDNVD           Wrongful Eviction(33      )                           Other Complaint(not specified
                                                     Other Real Property (e.g., quiet title)(26)
                (e.g., assault, vandalism)                                                                      above)(42)
         Intentional Infliction of                       Writ of Possession of Real Property                    Declaratory Relief Only
                                                         Mortgage Foreclosure
              Emotional Distress                                                                                Injunctive Relief Only (non-
         Negligent Infliction of                        Quiet Title                                                  harassment)
              Emotional Distress                        Other Real Property (not eminent                        Mechanics Lien
         Other PI/PD/VVD                                domain, landlord/tenant, or                             Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                              foreclosure)                                                 Case (non-tort/non-complex)
    Business Tort/Unfair Business               Unlawful Detaner i                                              Other Civil Complaint
        Practice (07)                               Commercial(31)                                                   (non-tort/non-complex)
    Civil Rights (e.g., discrimination,             Residena ti l(32)                                   Miscellaneous Civil Petition
         false arrest)(not civil                    Drugs(38)(ifthe case involves illegal                  Partnership and Corporate
         harassment)(08)                            drugs, check this item; otherwise,                         Governance (21)
    Defamation (e.g., slander, libel)               report as CCommercial    i l or R
                                                                                    Residential)
                                                                                        id                 Other Petition (not specified
         (13)                                   Judicial Review                                                above)(43)
    Fraud (16)                                     Asset Forfeiture (05)                                       Civil Harassment
    Intellectual Property (19)                     Petition Re: Arbitration Award (11)                        Workplace Violence
    Professional Negligence (25)                           Mandate
                                                   Writ of M     d t (02)                                     Elder/Dependent Adult
        Legal Malpractice                               Writ-Administrative Mandamus                                Abuse
                                                        Writ-Mandamus on Limited Court
        Other Professional Malpractice                                                                        Election Contest
           (not medical or legal)                          Case Matter                                        Petition for Name Change
    Other Non-PUPDNVD Tort (35)                         Writ-Other Limited Court Case                         Petition for Relief From Late
 Employment                                                Re
                                                           Review                                                   Claim
    Wrongful Termination (36)                      Other JJudicial
                                                             di l R i (39)                                    Other Civil Petition
    Other Employment(15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010[Rev. September 1. 20211                                                                                                                Page 2 of 2
                                                        CIVIL CASE COVER SHEET
